 

2:17-cr-00206-JAK §NUH%§FQTEFFMTM¢FB¢MRF&Q@ 1 of 2 Page lD #:101
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CASE SUMlVlARY

Case Number CR 17-206(A)-JAK

 

U.S.A. v. TREVON l\/lAURlCE FRANKLIN

 

[:| indictment information

Defendant Number

Year of Birth 1995

 

lnvestigative agency (FBl, DEA, etc.) FB|

NOTE: All items MUST be completed. lf you do not know the answer or a question is not applicable to your case, enter "N/A."

OFFENSE/VENUE

a. Offense charged as a:

ClassAi\/iisdemeanor l:| l\/linorOffense [:] Petty Offense
[:| Ciass B l\/lisdemeanor |:| Class C l\/lisdemeanor |:| Feiony
b. Date of Offense 2/20/2016 - 2/22/2016

 

c. County in Which first offense occurred

Los Ange|es

d, The crimes charged are alleged to have been committed in
(CHECK ALL THAT APPLY):

l_os Angeles |:| Ventura
l:| Orange |:| Santa Barbara
|:| Riverside |:] San Luis Obispo

[:| San Bernardino l:] Other
l Citation of Offense 17 U.S.C. § 506(a)(1)(B) and
18 U.S.c. § 2319(a),(c)(3)

e. Division in Which the MAJOR|TY of events, acts, or omissions
giving rise to the crime or crimes charged occurred:

 

Western (Los Ange|es, San Luis Obispo, Santa Barbara, Ventura)
[:| Eastern (Riverside and San Bernardino) |:| Southern (Orange)

RELATED CASE

Has an indictment or information involving this defendant and
the same transaction or series oftransactions been previously
filed and dismissed before tria|?

[:| No Yes
if "Yes," Case Number: CR 17~206-JAK

 

Pursuant to Generai Order 16-05, criminal cases may be related
if a previously filed indictment or information and the present
case:

a. arise out ofthe same conspiracy, common scheme,
transaction, series oftransactions or events; or

b. involve one or more defendants in common, and Wou|d
entail substantial duplication of labor in pretrial, trial or
sentencing proceedings if heard by differentjudges.

Related case(s), if any (MUST MATCH NOTlCE OF RELATED
CASE):

 

 

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PREvlous couNsEL ry

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PREV|OUSLY FlLED COMPLAINT/CVB ClTATlON
A complaint/CVB citation Was previously filed on:

Case Number:

 

 

 

 

Assigned Judge: §

Charging: v

The complaint/CVB citations ’"““i'§
|:| is still pending § c::i §::w
l:l Was dismissed on: _ §' ”’i"g §§

 

 

Was defendant previously representeI:i? ; -:?No [:] Yes

iF YES, provide Name: z ~A\

 

Phone Number:

 

COMPLEX CASE

Are there 8 or more defendants in the lndictment/|nformation?
|:| Yes* No

Wi|i more than 12 days be required to present government's
evidence in the case-in-chief?

|:l Yes* NO

*AN ORlG|NAL AND 1 COPY (UNLESS ELECTRON|CALLY FlLED)
OF THE NOTlCE OF COMPLEX CASE i\/iUST BE FlLED AT THE
Tll\/lE THE lNDlCTl\/lENT |S FlLED |F ElTHER "YES" BOX |S
CHECKED.

SUPERSED|NG lNDlCTMENT/lNFCRMAT|ON
|S TH|S A NEW DEFENDANT? [:| Yes No
This is the igt superseding charge (i.e., ist, 2nd).

The superseding case Was previously filed on:
April 7, 2017

Case Number CR 17-206~JAK

 

The superseded case:
is still pending before Judge/Magistrateiudge

 

[:] Was previously dismissed on

 

Are there 8 or more defendants in the superseding case?
|:| Yes* No

Wi|l more than 12 days be required to present government's
evidence in the case-in~chief?

[:| Yes* NO

Was a Notice of Compiex Case filed on the indictment or

|nformation?
[:| Yes NO

*AN OR|GINAL AND 1 COPY OF THE NOTlCE OF COMPLEX CASE
l\/iUST BE FlLED AT THE T|i\/lE THE SUPERSED\NG |NDlCTlViENT |S
FlLED lF EITHER "YES" BOX |S CHECKED.

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Case 2:17-cr-00206-.]AK M#@MTNE$W§UUHBQQUWQ 2 of 2 Page |D #:102
CENTRAL DlSTRlCT OF CALIFORNIA

INTERPRETER
ls an interpreter required? |:| YES NO
lF YES, list language and/or dialect:

 

OTHER

l\/lale l:] Female
U.S.Citizen |:| Alien

Alias Name(s)

 

 

This defendant is charged in:
All counts

[_:| Only counts:

 

|:_] This defendant is designated as "High Risl<" per
18 USC § 3146(a)(2) by the U.S. Attorney.

|:| This defendant is designated as "Specia| Case" per
18 USC § 3166(b)(7).

ls defendantajuveni|e? |:] Yes NO
lFYES,should matterbe sealed? |:l Yes l:l No

The area(s) of substantive law that Will be involved in this case
include(s):

|:| financial institution fraud |:] public corruption
[:| tax offenses

[:| mail/Wire fraud

|:] immigration offenses

|:| government fraud
|:| environmental issues
|:[ narcotics offenses

|:] violent crimes/firearms [:] corporate fraud

Other copyrightinfringement

 

 

EXCLUDABLE TlME

Determlnations as to excludable time prior to filing indictment/information EXPLAlN:

CASE SUMMARY

CUSTODY STATUS

Defendant is not in custody:
a. Date and time of arrest on complaint: June13, 2017

b. Posted bond at complaint level on: June 27, 2017
in the amount of$10,000

c. PSA supervision? Yes |:| NO
d. ls on bail or release from another district:

 

 

Defendant is in custody:
a. Place ofincarceration: l:] State [:l Federal

b. Name of lnstitution:

 

c. lf Federal, U.S. l\/larshals Service Registration Number:

 

d_ |:| Solely on this charge. Date and time ofarrest:

 

e. On another conviction: l:| Yes {:] NO

lF YES: |:| State [:] Federal

f. Awaiting trial on other charges: ij Yes |:| No
": YES¢ |:| State |:] Federal AND

Name of Court:

|:| Writ of issue

 

Date transferred to federal custody:

This person/proceeding is transferred from another district
pursuant to F.R.Cr.P. 20 21 40

 

 

 

Date l\/lay15, 2018

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654/1 M/Ww .Q ali /,\_/
Sig'hature of Assi\s‘t§rt U.S. Attorney
Ellen Lansden

Print Name

 

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(`ACF Ql ll\/ll\/lADV

Dann 7 r\F ')

